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1
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4
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6    Attorney for Defendant
     RAVEN STARK
7

8
                                   UNITED STATES DISTRICT COURT

9                                        DISTRICT OF NEVADA
10                                                    )
     UNITED STATES OF AMERICA,                        )
11                                                    ) CASE NO: 2:18-cr-00392-RFB-VCF
                      Plaintiff,                      )
12                                                    )
                                                      )     STIPULATION TO CONTINUE
13   RAVEN STARK,                                     )              TRIAL DATE
                                                      )             (Tenth Request)
14                    Defendant.                      )
                                                      )
15                                                    )
16

17           IT IS HEREBY STIPULATED AND AGREED, by and between EDWARD VERONDA,
18   Esq., Assistant United States Attorney, counsel for the United States of America, and Damian R.
19   Sheets, Esq., counsel for Defendant, RAVEN STARK, that the motion period be extended, that
20
     the Calendar Call presently scheduled for October 12, 2021 be continued, and the trial presently
21
     scheduled for October 18, 2021, be continued to a time convenient to the court. Defense Counsel
22
     requests a setting after March 1, 2022, as he has an out of jurisdiction trial and multiple jury trials
23
     set locally prior to that time.
24
             This Stipulation is entered into for the following reasons:
25
         1. Defense Counsel is new to this matter. As part of the investigation in this case, Defense
26
             Counsel is in the process of reviewing discovery. After examining such, it is possible that
27
             there may be a need to file pre-trial motions or supplements to existing motions.
28
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1       2. Due to the Covid-19 pandemic and the associated Governor’s orders, which include an
2           order to “Stay Home for Nevada”, Counsel has been delayed in the investigation of this
3           matter. Defense Counsel himself is still recovering from Covid-19 (until between mid
4           October 2021 and March 2022), and ensuing complications which include ongoing
5           treatment for existing bi-lateral pneumonia and three pulmonary embolisms.
6       3. Defense Counsel will not have sufficient and adequate time to effectively and thoroughly
7           prepare for trial and present an appropriate defense in the above-captioned matter on the
8
            date currently set for trial.
9
        4. Counsel for the Government has been advised by Defense Counsel that, after conferring
10
            with his client, they may want to file pre-trial motions and will need an extension of time
11
            beyond the currently scheduled motion cutoff date.
12
        5. Denial of this request for continuance would deny Defense Counsel sufficient time, on the
13
            date currently set for trial, taking into account the exercise of due diligence.
14
        6. Furthermore, denial of this request for continuance could result in a miscarriage of justice.
15
        7. Defendant is currently not in federal custody and is not opposed to the continuance.
16
        8. Defense counsel is requesting a Jury Trial date of no earlier than a date after March 1, 2022.
17
        9. This is the tenth request for a continuance, but new Defense Counsel’s First Request.
18
            The additional time requested by this Stipulation is excludable in computing the time
19
     within which the trial herein must commence, pursuant to the Speedy Trial Act, Title 18, United
20
     States Code, Section 3161(h)(7)(A), considering the factors under Title 18, United States Code,
21
     Sections 3161 (h)(7)(B)(i) and 3161(h)(7)(B)(iv).
22
            DATED this 23rd day of September 2021.
23

24
     s/Edward Veronda                                              s/Damian R. Sheets
25   EDWARD VERONDA, ESQ.                                          DAMIAN R. SHEETS, ESQ.
     Assistant United States Attorney                              Nevada Bar No. 10755
26
                                                                   Attorney for Defendant
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1
                                   UNITED STATES DISTRICT COURT
2
                                        DISTRICT OF NEVADA
3
                                                     )
4    UNITED STATES OF AMERICA,                       )
                                                     ) Case No: 2:18-cr-00392-RFB-VCF
5                     Plaintiff,                     )
                                                     )  FINDINGS OF FACT, CONCLUSIONS
6                                                    )           OF LAW, AND ORDER
     RAVEN STARK,                                    )
7                                                    )
                      Defendant.                     )
8                                                    )
                                                     )
9

10

11           The Court having considered the Stipulation between the Plaintiff, United States of
12   America, by and through EDWARD VERONDA, Esq., United States Attorney and Defendant,
13   Damian R. Sheets, Esq., counsel for Defendant, RAVEN STARK, and makes the following
14   findings of fact and conclusions of law and enters the following order:
15                                            FINDINGS OF FACT
16           Counsel for the Government was advised by Damian R. Sheets, Esq., counsel for
17   Defendant, RAVEN STARK, that Defense Counsel needs further time to review discovery and
18   prepare for trial.
19       1. Defense Counsel is new to this matter. As part of the investigation in this case, Defense
20           Counsel is in the process of reviewing discovery. After examining such, it is possible that
21           there may be a need to file pre-trial motions or supplements to existing motions.
22       2. Due to the Covid-19 pandemic and the associated Governor’s orders, which include an
23           order to “Stay Home for Nevada”, Counsel has been delayed in the investigation of this
24
             matter. Defense Counsel himself is still recovering from Covid-19 (until between mid
25
             October 2021 and March 2022), and ensuing complications which include ongoing
26
             treatment for existing bi-lateral pneumonia and three pulmonary embolisms.
27

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1       3. Defense Counsel will not have sufficient and adequate time to effectively and thoroughly
2           prepare for trial and present an appropriate defense in the above-captioned matter on the
3           date currently set for trial.
4       4. Counsel for the Government has been advised by Defense Counsel that, after conferring
5           with his client, they may want to file pre-trial motions and will need an extension of time
6           beyond the currently scheduled motion cutoff date.
7       5. Denial of this request for continuance would deny Defense Counsel sufficient time, on the
8
            date currently set for trial, taking into account the exercise of due diligence.
9
        6. Furthermore, denial of this request for continuance could result in a miscarriage of justice.
10
        7. Defendant is currently not in federal custody and is not opposed to the continuance.
11
        8. Defense counsel is requesting a Jury Trial date of no earlier than a date after March 1, 2022.
12
        9. This is the tenth request for a continuance, but new Defense Counsel’s First Request.
13
            The additional time requested by this Stipulation is excludable in computing the time
14
     within which the trial herein must commence, pursuant to the Speedy Trial Act, Title 18, United
15
     States Code, Section 3161(h)(7)(A), considering the factors under Title 18, United States Code,
16
     Sections 3161 (h)(7)(B)(i) and 3161(h)(7)(B)(iv).
17
            For all of the above stated reasons, the ends of justice would best be served by a
18
     continuance of the trial date herein.
19
                                            CONCLUSIONS OF LAW
20
            The continuance sought herein is excludable under the Speedy Trial Act, Title 18, United
21
     States Code, Section 3161(h) and Title 18, United States Code, Section 3161(h)(7)(A), when
22
     considering the factors under Title 18, United States Code, Sections 3161(h)(7)(B)(i) and
23
     3161(h)(7)(B)(iv).
24
            The ends of justice served by granting said continuance outweigh the best interest of the
25
     public and defendant in a speedy trial, since the failure to grant said continuance would be likely
26
     to result in a miscarriage of justice, would deny defense counsels sufficient time within which to
27
     be able to effectively and thoroughly research and prepare for trial and to submit for filing any
28
     appropriate motions, taking into account the exercise of due diligence.
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1                                                    ORDER
2           Based on the pending Stipulation of the parties and good cause appearing therefore,
3           IT IS THEREFORE ORDERED that the trial in this matter currently scheduled be
4                              April 11, 2022 at the hour of ________.
     vacated and continued to _______________                  9:00 AM
5           IT IS FURTHER ORDERED that the calendar call currently scheduled for be vacated
6                       April 5, 2022
     and continued to ________________                1:30 PM
                                       at the hour of _______.
7           IT IS FURTHER ORDERED that the parties herein shall have to and including
8      January 24, 2022
     ______________________,                    5:00 p.m., within which to file any and all
                             by the hour of ________
9    pretrial motions and notices of defense.
10          IT IS FURTHER ORDERED that the parties shall have to and including
11     February 7, 2022
     ________________________,                 5:00 p.m., within which to file any and all
                               by the hour of ______
12   responsive pleadings; and
13          IT IS FURTHER ORDERED that the parties shall have to and including
14      February 14, 2022
     _____________________,                 5:00 p.m., within which to file any and all replies to
                            by the hour of ______
15   dispositive motions.
16          IT IS FURTHER ORDERED that the Master Trial Scheduling Conference set for

17    September 27, 2021 is Vacated.
18                     23rd day of ____________,
           DATED this ____           September 2021.
19

20                                         ________________________________________________
                                           RICHARD F. BOULWARE, II
21
                                           United States District Judge
22

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